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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION

                                                        CASE NO.

SUSAN SAUNDERS,

          Plaintiff,

v.

J.P.      MORGAN    TREASURY
TECHNOLOGIES CORPORATION and
CBRE, INC.,

          Defendant.

                                             NOTICE OF REMOVAL

          Defendant, CBRE, INC. (hereinafter “CBRE” or Defendant), files this Notice of Removal

to remove the foregoing cause to the United States District Court for the Middle District of Florida,

Tampa Division, and respectfully shows this Court the following:

                        I. STATEMENT OF THE GROUNDS FOR REMOVAL

          This Notice of Removal is based on diversity jurisdiction pursuant to 28 U.S.C. § 1332 et

seq.

                               II. BASIS FOR DIVERSITY JURISDICTION

          1.        Plaintiff, SUSAN SAUNDERS (“Plaintiff”), commenced this civil action in the

13th Judicial Circuit Court in and for Hillsborough County, Florida styled SUSAN SAUNDERS

v. J.P. MORGAN TREASURY TECHNOLOGIES CORPORATION and CBRE, INC, Case

Number 20-CA-005603 (the “Action”). Attached hereto as part of Exhibit “1” is a copy of said

Complaint.




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        2.        CBRE was served with the Complaint on or about July 14, 2020. Attached hereto

as Exhibit "2" is a copy of the Summons and proof of service of the Complaint. Upon information

and belief, Defendant JP MORGAN TREASURY TECHNOLOGIES CORPORATION was

served on or about July 28, 2020. No other real defendant exists or has been known to be served

before said date or since.

        3.        While the Complaint is highly vague and ambiguous, including failing to allege

facts supporting why Defendant is being sued, this is an alleged personal injury case in which

CBRE is alleged to have been negligent because of an unspecified injury Plaintiff purportedly

sustained on March 21, 2019 while walking at the premises of her employer located at 10430

Highland Manor Drive, Tampa, Florida. In short, the Complaint alleges Plaintiff somehow tripped

and fell after encountering an undescribed "broken and/or raised concrete" at an unspecified

sidewalk at the premises which was not owned by CBRE.1 Subsequently, Plaintiff alleges a host

of legal conclusions without supporting factual allegations, including where within the large

premises the alleged incident occurred, what is meant by the claim that there was a "broken and/or

raised concrete," whether Plaintiff claims a broken piece of concrete was present or if the concrete

on the sidewalk was raised, whether she is claiming the sidewalk had a step or violated any

building or safety code, how Plaintiff was caused to fall, why CBRE is being sued if it did not own

the subject premises, or anything remotely specific about the alleged claim.

        4.        Undersigned counsel received a copy of said Complaint on or about July 15, 2020,

and advised Plaintiff on or about July 17, 2020 of Defendant’s intention to remove this action.

Attached hereto as part of Exhibit “3” is Defendant’s correspondence to Plaintiff’s counsel dated

July 17, 2020 providing notice of the intent to remove and the accompanying proposed Joint


        1
            See [D.E. 1-1, ¶ 4 and 7].



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Stipulation of Alleged Damages for signing by Plaintiff's counsel. Undersigned counsel further

prepared the proposed Joint Stipulation of Alleged Damages for signing by Plaintiff's counsel.

Attached hereto as part of Exhibit "3" is the proposed Joint Stipulation of Alleged Damages for

signing by Plaintiff's counsel. One of the main basis of the Joint Stipulation was to cap alleged

damages and thus preclude removal of this matter to federal court. Plaintiff’s counsel refused to

execute the Joint Stipulation of Alleged Damages.

        5.        Plaintiff's Complaint only alleged the "action is for damages that exceeds the sum

of Thirty Thousand Dollars ($30,000.00), exclusive of costs, interest and attorneys' fees," and went

on to claim "the estimated value of Plaintiff's claim is in excess of the minimum jurisdictional

threshold required by [the Circuit] Court." It further alleged the "actual value of Plaintiff's claim

will be determined by a fair and just jury."2

        6.        Consequently, on November 13, 2020, Defendant served its First Request for

Admissions to Plaintiff, seeking admissions as to the alleged amount in controversy. See true and

correct copy of Defendant's First Request for Admissions to Plaintiff attached hereto as Exhibit

"4". Defendant also served its initial written discovery to Plaintiff, including interrogatories and

request for production.

        7.        On December 11, 2020, Plaintiff served Plaintiff's Response to Defendant's

Request for Admissions, asserting improper objections to Defendant's requests and failing to admit

or deny whether the alleged amount in controversy exceeds $75,000.00, exclusive of interest and

costs. Accordingly, Defendant was forced to file a Motion to Compel Proper Responses to

Defendant's First Request for Admissions to Plaintiff. See true and correct copy of Defendant's

Motion to Compel Proper Responses to Defendant's Jurisdictional Request for Admissions and


        2
            See [D.E. 1-1, ¶ 1].



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Alternative Motion to Dismiss Plaintiff's Complaint for Lack of Jurisdiction over the Subject

Matter and Incorporated Memorandum of Law attached hereto as part of Exhibit "4". Notably,

Plaintiff also failed to respond to Defendant's interrogatories and request for production, forcing

Defendant to seek a Court order requiring responses. Following a hearing on Defendant's Motion

held on March 17, 2021, Plaintiff's objections were overruled and Plaintiff was ordered to provide

amended responses to Defendant's requests. Plaintiff was also ordered to respond to Defendant's

other written discovery. See true and correct copy of Order on Defendant CBRE, Inc.'s Motion to

Compel Discovery from Plaintiff and Motion to Compel Proper Responses to Defendant's

Jurisdictional Request for Admissions attached hereto as part of Exhibit "4".

        8.        Plaintiff failed to comply with the Order, forcing Defendant to file a Motion to

Enforce Court Order. See true and correct copy of Defendant's Motion to Enforce Court Order and

for Sanctions attached hereto as part of Exhibit "4".

        9.        Then, on April 14, 2021, Plaintiff served Plaintiff's Amended Response to

Defendant CBRE, Inc.'s First Request for Admissions, admitting for the first time that the alleged

amount in controversy for the claims alleged by Plaintiff in the Complaint exceeds $75,000.00,

exclusive of interest and costs. Plaintiff's Response to Defendant CBRE, Inc.'s First Request for

Admissions was the first paper in the matter from which it could be ascertained that the case is one

which is or has become removable. Therefore, the time for removal did not begin to run until April

14, 2021. Attached hereto as part of Exhibit "4" is Plaintiff's Amended Response to Defendant

CBRE, Inc.'s First Request for Admissions.

        10.       Defendant CBRE seeks removal to the Middle District of Florida, Tampa Division,

the District in which the action is now pending.




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         11.      This Notice is filed within thirty (30) days of the date that CBRE first received a

copy of Plaintiff's Amended Response to Defendant CBRE, Inc.'s First Request for Admissions,

and determined that the action was removable. Therefore, this Notice is filed in compliance with

28 U.S.C. § 1446(b).

         12.      Following the filing of this Notice with this Court, written notice of the filing of

same will be provided to the attorney for Plaintiff as required by law.

         13.      Following the filing of this Notice with this Court, a true and accurate copy of the

same will be filed with the Clerk of Court of the 13th Judicial Circuit Court in and for Hillsborough

County, Florida as required by law.

         14.      Attached hereto as Exhibit “5” to this Notice as Exhibits are all true and legible

copy of all process, pleadings, orders and other papers or exhibits of every kind on file in the State

Court.

         15.      This Court has removal jurisdiction of this action under the provisions of Title 28

of the United States Code, § 1441(a). This Court has original jurisdiction of this action under the

provisions of Title 28 of the United States Code, § 1332.

         16.      The Complaint states that Plaintiff seeks damages in excess of the jurisdictional

limits of the Florida Circuit Court. The damages available to Plaintiff, if she prevails, are not

limited in any fashion, however. Plaintiff alleges that as a result of the alleged negligence, she

"was injured in and about her body and extremities, incurred medical expenses for the treatment

of said injuries," incurred "pain and suffering of both physical and mental nature," suffered

"permanent injury to her body," and that she experienced "loss of the ability to lead and enjoy a

normal life . . loss of wages and loss of wage earning capacity." She also claims all of her losses

are permanent or continuing in nature, and that she will suffer losses in the future.




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         17.      Further, Plaintiff's Amended Response to Defendant CBRE, Inc.'s First Request for

Admissions admit the alleged amount in controversy for the claims asserted by Plaintiff in the

Complaint exceed $75,000.00, exclusive of interest and costs.

         18.      Plaintiff's counsel also refused to execute a proposed Joint Stipulation of Alleged

Damages limiting alleged damages to $75,000.00 or less and thus avoiding this removal. In short,

based on these allegations the amount in controversy exceeds $75,000.00, exclusive of interest and

costs.

         19.      Plaintiff is a citizen of Florida and the CBRE is a Delaware corporation with its

principal place of business located in California at 6400 S. Hope Street, 25thFloor, Los Angeles,

CA 90071. CBRE is therefore a citizen of the State of California for purposes of diversity

jurisdiction. JPMorgan Treasury Technologies Corporation was a Delaware corporation that

withdrew its authority to transact business in the State of Florida on January 2, 2020. Its mailing

address is 1111 Polaris Parkway, Columbus, Ohio 43240. JP Morgan Treasury Technologies

Corporation is therefore a Delaware for purposes of diversity jurisdiction.

         20.      Accordingly, there is complete diversity of citizenship between the actual and real

parties, the requirements of 28 U.S.C. § 1441(b) have been met since Defendants are not citizens

of Florida, the State in which this action was brought. Thus, this Court has removal jurisdiction

on the face of the Complaint based upon diversity of citizenship.

                                               III. CONCLUSION

         The amount in controversy exceeds $75,000.00, exclusive of interest and costs. Complete

diversity exists because Plaintiff whom is a citizen of Florida and Defendants who are not citizens

of Florida. Accordingly, Defendant CBRE respectfully request that this action proceed in this




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Court as an action properly removed pursuant to 28 U.S.C. § 1332, et seq., and 28 U.S.C. § 1441,

et seq.

                                                       Respectfully submitted,

                                                       s/Michael Alexander Garcia
                                                       Michael Alexander Garcia
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                                        CERTIFICATE OF SERVICE

        I hereby certify that on May 14, 2021, the foregoing document was electronically filed with

the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

this day on all counsel of record on the attached Service List in the manner specified, either via

transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized

manner for those counsel or parties who are not authorized to receive electronically Notices of

Electronic Filing.

                                                               s/ William A. Potucek
                                                               William A. Potucek




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                                                  SERVICE LIST

                                                      CASE NO.


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